











Opinion issued May 28, 2004











In The
Court of Appeals
For the
First District of Texas
____________

NO. 01–03–01330–CV
____________

IN RE JAMES KEARNEY, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINIONRelator James Kearney has filed a petition for writ of mandamus complaining
about the trial court’s


 order that severed a third party from the underlying lawsuit.


 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for writ of mandamus and all outstanding motions.
PER CURIAM
Panel consists of Chief Justice Radack and Justices Alcala and Bland.


